            Case 1:22-mj-00235-MAU Document 1-1 Filed 10/31/22 Page 1 of 6



                                       Statement of Facts

       1.          On November 1, 2021, Officer Stevens of the Narcotics Enforcement Unit

obtained District of Columbia Search Warrant 2021-CSWSLD-3529 for 215 K St., SW as a part of

the on-going investigation into the Greenleaf Gardens/NRA crew in the First District.

       2.          On November 3, 2021, at approximately 1500 hours, the search warrant was

executed at 215 K St. NW by members of the Washington, DC Metropolitan Police Department

(MPD) Narcotics and Special Investigation Division/ Narcotics Unit, Emergency Response Team

(ERT), members of the First District Crime Suppression Team, and members of the FBI

Washington Field Office Violent Crime Task Force.

       3.          Upon arriving to the location, MPD ERT conducted a knock and announce. After

a reasonable amount of time, members gained entry inside of the townhome. BARTWONE

COPELAND, ADRIAN WADE, LEROY FRYE, INDIA FULLER, and FRANCIS WHITE were

encountered in various locations throughout the residence. COPELAND was located in the kitchen

area, FULLER and FRYE in the living room area, WHITE inside of bedroom #2, and WADE in

the second-floor hallway area. After all subjects were detained, officers documented all subjects’

biographical information.

       4.          Members initiated the search and the below listed evidence was photographed,

seized, and recovered:

               Item #1. Glock 17 (#EZT677US) 9mm semi-automatic pistol, with an unknown
                high-capacity magazine capable of holding more than ten rounds, with one round
                in the chamber and 28 total rounds in the magazine. (kitchen)
               Item #2. FN FNS (#GKU0048043) .40 caliber semi-automatic pistol, with an
                unknown capacity magazine capable of holding more than ten rounds, with one
                round in the chamber and 14 total rounds in the magazine. (kitchen).
               Item #3. Glock 23 with suspected “Giggle Switch” (a device used to convert a
                firearm from semi-auto to automatic) (obliterated serial), .40 caliber semi-
                automatic pistol, with an unknown high-capacity magazine capable of holding
                more than ten rounds, with one round in the chamber and 20 total rounds in the
                                                  1
             Case 1:22-mj-00235-MAU Document 1-1 Filed 10/31/22 Page 2 of 6



                 magazine. (kitchen)
                Item #4. Multiple magazines with ammunition (kitchen)
                Item #5. Clear plastic bag containing blue pills (72) (kitchen)
                Item #6. Clear plastic bag containing white rock substance (2) grams (kitchen)
                Item #7. Yellow bag containing various ammunition and magazines (kitchen)
                Item #8. Clear plastic bag containing white rocklike substance, 40 grams, and 81
                 blue pills (kitchen)
                Item #9. Extended magazine (kitchen)
                Item #10. Black bag containing blue pills (306), seven thousand and ten dollars
                 ($7010.00) in US Currency, and cell phone (kitchen)
                Item #11. Black bag containing green plant substance with packaging (50 grams)
                 (kitchen) Item #12. Black mylar bag containing green plant substance (376 grams)
                 (kitchen)
                Item #13. Black bag containing green plant substance (18 grams) and hydrocodone
                 (5 pills) (kitchen)
                Item #14. Blue multi-colored bag containing mylar bag with green plant substance
                 (536 grams) (kitchen)
                Item #15. Single round ammunition (hallway)
                Item #16. Black Android phone (hallway)
                Item #17. Empty Glock box (hallway closet)
                Item #18. Glock 23 (#BRGS861) .40 caliber semi- automatic pistol, with an
                 unknown capacity magazine capable of holding more than ten rounds, with one
                 round in the chamber and 14 total rounds in the magazine. (Bedroom #1)

        5.          A total of 42 grams white rock-like substance (field test positive for crack

cocaine), 459 blue pills, and 980 grams of green leaf substance was recovered from the kitchen—

near where COPELAND was located upon entry.

        6.          An inquiry was conducted in the gun registry database on all listed occupants of

the apartment, and none was found to be a legally registered gun owner. None of the defendants has

a license to carry a pistol in the District of Columbia. Prior to the execution of the warrant, a firearms

check was conducted on the residence and there were no firearms registered to the address.

                                          November 3, 2021, Arrests

        7.          Upon entry, law enforcement observed WADE moving into bedroom #2 as if he

could be exiting from inside of Bedroom #1 in which Item #18 (Glock 23 .40 caliber semi-automatic

pistol, Serial #BRGS861) was recovered. WADE was placed under arrest for Possession of

                                                     2
            Case 1:22-mj-00235-MAU Document 1-1 Filed 10/31/22 Page 3 of 6



Unregistered Firearm/unlawful Possession of a Firearm or Destructive Device, Possession of

Unregistered Ammunition, and Felon in Possession. WADE was transported to the First District for

processing. WADE has previously been convicted of crimes punishable by a term of imprisonment

exceeding one year in D.C. Superior Court Case 2015-CF3-1931, where he was convicted of

Assault with a Dangerous Weapon and Possession of a Firearm During a Crime of Violence, for

which he was sentenced to 36 months and 60 months incarceration, respectively. Defendant WADE,

in a search incident to arrest, also was found to be in possession of an additional .2 grams of white

rock substance (field test positive cocaine base) along with four hundred and eighty-five dollars

($485.00) US Currency.

       8.         FULLER, who was in the living room on entry and is the lease holder for the

residence, was placed under arrest for Possession of Unregistered Firearm/unlawful Possession of

a Firearm or Destructive Device, Possession of Unregistered Ammunition and Maintaining a Drug-

Involved Premises. Defendant FULLER was transported to the First District for processing.

       9.         WHITE, who was found hiding in Bedroom #2 upon entry, was placed under

arrest for Possession Of Unregistered Firearm/unlawful Possession Of A Firearm Or Destructive

Device, Possession Of Unregistered Ammunition, Possession with Intent to Distribute, and

Maintaining a Drug-Involved Premises. White has previously been convicted of crimes punishable

by a term of imprisonment exceeding one year in the following cases:

   •   D.C. Superior Court Case 2018-CF3-15028, Burglary Two and Assault with a Dangerous
       Weapon, for which he received 20 months incarceration; and

   •   D.C. Superior Court Case 2017-CF2-18113, Carrying a Pistol without a License, for which
       he received 730 days incarceration with 655 days suspended.

Defendant WHITE was transported to the First District for processing. Search incident to arrest

yielded an additional clear plastic bag containing fourteen (14) grams of green leaf substance.

                                                  3
             Case 1:22-mj-00235-MAU Document 1-1 Filed 10/31/22 Page 4 of 6



       10.          FRYE, who was found in the living room upon entry, was placed under arrest for

Possession of Unregistered Firearm/unlawful Possession of a Firearm or Destructive Device,

Possession of Unregistered Ammunition, Unlawful Entry, Maintaining a Drug-Involved Premises,

Possession with Intent to Distribute, and Felon in Possession. Defendant FRYE was transported to

the First District for processing. Defendant FRYE also was found to be in possession of an

additional seven hundred and eighty-two dollars ($782.00) US Currency.

       11.          COPELAND, who was found in the kitchen upon entry, was placed under arrest

for Possession of Unregistered Firearm/unlawful Possession of a Firearm or Destructive Device,

Possession of Unregistered Ammunition, Possession with Intent to Distribute, Maintaining a Drug-

Involved Premises, and Felon in Possession. COPELAND was transported to the First District for

processing. COPELAND has previously been convicted of crimes punishable by a term of

imprisonment exceeding one year in the following cases:

              •   D.C. Superior Court Case 2016-CF3-19041, Attempted Assault with a Dangerous
                  Weapon, for which he received 14 months incarceration;

              •   D.C. Superior Court Case 2016-CF2-12496, Unlawful Possession of a Firearm
                  (Prior Conviction), for which he received 24 months incarceration;

              •   D.C. Superior Court Case 2015-CF2-7404, Felony Contempt, for which he received
                  12 months incarceration; and

              •   D.C. Superior Court Case 2015-CF3-5206, Attempt to Commit Robbery, for which
                  he received 12 months incarceration

COPELAND also was found to be in possession of one thousand and eighty-six dollars

($1686.00) US Currency.

       12.          WADE, FRYE, FULLER, WHITE, and COPELAND’s arrests were no-papered

to allow further DNA testing and review of evidence recovered during the search warrant.



                                                  4
             Case 1:22-mj-00235-MAU Document 1-1 Filed 10/31/22 Page 5 of 6



                  Forensic Testing of Swabs of Firearms Recovered on November 15, 2021

       13.          This physical evidence is currently stored at the FBI Washington Field Office’s

evidence control facility. Subsequent to the November 3, 2021, arrests, buccal swabs were obtained

for COPELAND, WHITE, and WADE. Additionally, swabs were taken from the seized firearms

and magazines.

       14.          The buccal swabs and the firearm swabs were subjected to nuclear

deoxyribonucleic acid (DNA) analysis testing and probabilistic genotyping by the FBI Laboratory.

A direct comparison was made between the buccal samples and the firearm samples and the

following conclusions were made by laboratory personnel:

                 Item 18: Male DNA was obtained from item 18 (Glock 23 (#BRGS861). The DNA
                  results from item 1 are 40 septillion times more likely if WADE and two unknown,
                  unrelated people are contributors than if three unknown, unrelated people are
                  contributors. Level of Support for WADE is 4.0 x 1025 (40 septillion) [Very
                  Strong Support for Inclusion]. The following individuals are excluded as potential
                  contributors to item 18: COPELAND, WHITE

                 Item 1: Male DNA was obtained from item 1 (Glock 9mm caliber semi- automatic
                  pistol, model 17, serial number EZT677US with large capacity magazine). Item 1
                  was interpreted as originating from three individuals. The DNA results from item 1
                  are 2.2 quintillion times more likely if WHITE and two unknown, unrelated people
                  are contributors than if three unknown, unrelated people are contributors. Level of
                  Support for WHITE is 2.2 x 1018 (2.2 quintillion) [Very Strong Support for
                  Inclusion]. WADE is excluded as a potential contributor to item 1.

                 Item 3: Male DNA was obtained from item 3 (Glock 40 caliber semi-automatic
                  pistol, model 23, serial number obliterated with suspected "giggle" switch and large
                  capacity magazine). Item 3 was interpreted as originating from three individuals.
                  The DNA results from item 3 are 280 septillion times more likely if COPELAND
                  and two unknown, unrelated people are contributors than if three unknown,
                  unrelated people are contributors. Level of Support for COPELAND is 2.8 x 1026
                  (280 septillion) [Very Strong Support for Inclusion]. The following individuals
                  are excluded as potential contributors to item 3: WADE, WHITE.


       15.          There are no firearms or ammunition manufacturers in the District of Columbia,

accordingly, each of the three firearms described above (and ammunition), traveled in interstate
                                                5
             Case 1:22-mj-00235-MAU Document 1-1 Filed 10/31/22 Page 6 of 6



commerce.


       16.         Based on the above set of facts and circumstances your affiant submits that there

is probable cause to believe that WADE, WHITE, and COPELAND unlawfully possessed the

firearms and ammunition detailed above, knowing that they had previously been convicted of

crimes punishable by more than a year of incarceration.

                                                       ________________________________
                                                       SPECIAL AGENT BENJAMIN FULP
                                                       FEDERAL BUREAU OF INVESTIGATION




Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 31st day of October, 2022.

                                                                        Digitally signed by Moxila A.
                                                                        Upadhyaya
                                                       _______________________________
                                                                        Date: 2022.10.31 11:26:10 -04'00'

                                                       MOXILA A. UPADHYAYA
                                                       U.S. MAGISTRATE JUDGE




                                                   6
